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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA

DANIEL LUGO,

                Plaintiff,
v.
                                                               CASE NO.

HOLIDAY HOUSING ASSOCIATION, INC.,

          Defendant.
_________________________________/

                                     COMPLAINT

       Plaintiff, Daniel Lugo, by and through his undersigned counsel, hereby

sues the Defendant, HOLIDAY HOUSING ASSOCIATION, INC., for injunctive

relief pursuant to the Americans With Disabilities Act, 42 U.S.C. §12181, et seq.

(the "ADA") and in support thereof states as follows:

                                    JURISDICTION

          1. This court has subject-matter jurisdiction since this action arises

pursuant to 28 U.S.C. § 1331 and §1343 and Plaintiff’s claims arise under 42

U.S.C. §12181 et seq. based upon Defendant's violations of Title III of the ADA.

                                          VENUE

           2.     Venue lies in this judicial district pursuant to 28 U.S.C. § 1391(b)

(2) because Defendant is a resident of this district and the facility, whose online

reservation system is at issue herein, is situated in this district.
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                                      PARTIES

          3. Plaintiff, Daniel Lugo, is an individual who is over eighteen years of

age and sui juris. Plaintiff is disabled as such term is defined by the ADA and is

substantially limited in performing one or more major life activities due to

permanent damage to his spinal cord as a result of a broken neck caused by a

motor vehicle accident. Plaintiff must use a wheelchair to ambulate. Plaintiff also

has limited use of his hands and fingers. Defendant's online lodging reservation

system fails to comply with any of the requirements of 28 C.F.R. §36.302(e) and

therefore Plaintiff's full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations offered thereon are restricted and

limited because of Plaintiff’s disability and will be restricted in the future unless

and until Defendant is compelled to cure the substantive ADA violations contained

on its online reservation system. Plaintiff intends to visit the online reservation

system for Defendant's place of lodging in the near future, and within thirty (30)

days, to book a place of lodging and utilize the goods, services, facilities,

privileges, advantages and/or accommodations being offered and/or to test the

online reservation system for compliance with 28 C.F.R. §36.302(e).

         4. Defendant is the owner and/or operator of places of lodging at the

Holiday Cove North, located at 565 North Atlantic Ave in New Smyrna Beach,




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Florida ("the Holiday"). The online reservation system for the Holiday is found at

www.holidaycovenorth.com (the "ORS").

         CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

         5. On July 26, 1990, Congress enacted the ADA explaining that the

purpose of the ADA was to provide a clear and comprehensive national mandate

for the elimination of discrimination against individuals with disabilities and to

provide clear, strong, consistent, enforceable standards addressing said

discrimination, invoking the sweep of congressional authority in order to address

the major areas of discrimination faced day-to-day by people with disabilities to

ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 12101(b)(1)-(4)).

         6. Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15,

2010, the Department of Justice, Office of the Attorney General, published revised

regulations for Title III of the Americans With Disabilities Act of 1990 in the

Federal Register to implement the requirements of the ADA. Public

accommodations, including places of lodging, were required to conform to these

regulations on or before March 15, 2012.

         7. On March 15, 2012, new regulations implementing Title III of the

ADA took effect, imposing significant new obligations on inns, motels, hotels and

other "places of lodging". 28 C.F.R. §36.302(e) states:



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       ''(1) Reservations made by places of lodging. A public accommodation that
owns, leases (or leases to), or operates a place of lodging shall, with respect to
reservations made by any means, including by telephone, in-person, or through a
third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with
disabilities can make reservations for accessible guest rooms during the same hours
and in the same manner as individuals who do not need accessible rooms;
(ii) Identify and describe accessible features in the hotels and guest rooms offered
through its reservations service in enough detail to reasonably
permit individuals with disabilities to assess independently whether a given hotel
or guest room meets his or her accessibility needs;1
(iii) Ensure that accessible guest rooms are held for use by individuals with
disabilities until all other guest rooms of that type have been rented and the
accessible room requested is the only remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms
and ensure that the guest rooms requested are blocked and removed from all
reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its
reservations service is held for the reserving customer, regardless of whether a
specific room is held in response to reservations made by others."
           8. The Holiday is a place of public accommodation that owns and/or

leases and operates a place of lodging pursuant to the ADA. On the Holiday’s

ORS, potential patrons may reserve a place of lodging. The ORS is subject to the

requirements of 28 C.F.R.§ 36.302(e) and Defendant is responsible for said

compliance.

1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice's official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should
provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L.Ed.2d 405 (1994).


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        9. Most recently, during June, 2022 Plaintiff attempted to specifically

identify and book a guaranteed reservation for an accessible place of lodging at the

Holiday through the ORS but was unable to do so due to Defendant's failure to

comply with the requirements set forth in paragraph 7.

        10. Plaintiff is an advocate of the rights of similarly situated disabled

persons and, pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323

(11th Cir. 2013), is a "tester" for the purpose of asserting his civil rights,

monitoring, ensuring, and determining whether places of public accommodation,

including online reservation systems for places of lodging, are in compliance with

the ADA.

        11. Defendant has discriminated against Plaintiff by denying him access

to and full and equal enjoyment of the goods, services, facilities, privileges,

advantages and accommodations offered at the Holiday through the ORS due to

the substantive ADA violations contained thereon. Plaintiff has suffered, and

continues to suffer, frustration and humiliation as the result of the discriminatory

conditions present on the ORS. Defendant contributes to Plaintiff's sense of

isolation and segregation by the continued operation of the ORS with

discriminatory conditions.

       12. The ORS encountered by Plaintiff when he visited it failed to comply

with any of the requirements of 28 C.F.R.§ 36.302(e)(1). When Plaintiff visited the



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ORS, he tried to make reservations for an accessible place of lodging at the

Holiday, since he requires an accessible place of lodging due to his inability to

walk, but it was not possible to make such a reservation. It was possible to reserve

a place of lodging that was not accessible. For this reason Defendant has no policy,

practice, or procedure in place to ensure that individuals with disabilities can make

reservations for accessible places of lodging during the same hours and in the same

manner as individuals who do not need accessible places of lodging. This

constitutes a violation of 28 C.F.R.§ 36.302(e)(1)(i). When Plaintiff visited the

ORS, he searched the site for the identification and descriptions of accessible

features at the Holiday and places of lodging offered through the ORS so that he

could assess independently whether the Holiday or a specific place of lodging at

the Holiday met his accessibility needs in light of his disability but the ORS

contained no such descriptions at all. This constitutes a violation of 28 C.F.R.§

36.302(e)(1)(ii). In light of the foregoing, Defendant also necessarily violated 28

C.F.R. §36.302(e)(1)(iii)-(v) in that since the ORS does not describe any accessible

place of lodging and does not, in turn, allow the reserving of such accessible place

of lodging, the Website cannot hold such unavailable accessible places of lodging

in the ORS until all other units have been rented, block such unavailable accessible

places of lodging from the system once reserved, and guaranty that such




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unavailable accessible places of lodging will be held for the reserving customer as

required by sections (iii) - (v) respectively.

        13. Plaintiff is without an adequate remedy at law and is suffering

irreparable harm and he reasonably anticipates that he will continue to suffer

irreparable harm unless and until Defendant is required to correct the ADA

violations to the ORS and maintain it and accompanying policies in a manner that

is consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

         14. Plaintiff has retained the undersigned counsel for the filing and

prosecution of this action and is entitled to recover reasonable attorneys’ fees, costs

and expenses from Defendant, including litigation expenses and costs pursuant to

42 U.S.C. §12205.

         15. Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority

to grant injunctive relief to Plaintiff, including an Order compelling Defendant to

implement policies, consistent with the ADA, to accommodate the disabled, by

requiring Defendant to alter and maintain the ORS in accordance with the

requirements set forth in paragraph 7 above.2



2 The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of the ORS. As rates and classes of the places of lodging at the
Holiday and the number and type of rooms, beds, accommodations and amenities offered in the various unit types
change from time to time, the availability of accessible units must be re-dispersed across these various price points,
classes, as well as across units with disparate features (2010 ADA Standard 224.5). In light of the foregoing, in
addition to regular ongoing website maintenance and to reflect physical changes at the Holiday, the ORS must
continuously be updated to properly reflect and describe Defendant's compliance with the substantive ADA
Standards regarding accessible places of lodging in accordance with 28 C.F.R. 36.302(e)(1).


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      WHEREFORE, Plaintiff, Daniel Lugo, requests that the Court issue a

permanent injunction enjoining Defendant from continuing its discriminatory

practices, ordering Defendant to implement policies, consistent with the ADA, to

accommodate the disabled, through requiring Defendant to alter and maintain the

ORS in accordance with the requirements set forth in paragraph 7 above, and

awarding Plaintiff reasonable attorneys’ fees, litigation expenses, including expert

fees, and costs.

                                              s/Lee D. Sarkin
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